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EXHIBIT 129
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Func: INV                  CHIPS RECEIVE                    19-OCT-2017 20:28:24
Key: GP20140109MP-0000-010026-00
^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
***** MT202/205 COVER INFORMATION INCLUDED *****
vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv
^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
SB BNF=BBKCHCNBJ73C*BANK OF CHINA*76, WINXIAN LU*PUTIAN,CN 351100* ORG=D00000204
6610636*MANJIT KAUR*2102 DAVIS CT NE*TACOMA WA 98422-4533* BBI=[650]CVR OF DIR P
YMT*
Chips Receive
OSN 010026 Received at 15:05:04 Value date 01/09/2014
Sending Bank (0407) WELLS FARGO NA
[031] Receive TAG
042014010904071011505040373753000711010026
[221] Delivery TAG
0326B
[260] Amount TAG
000000052000
[270] Payment Sequence Number TAG
000711
[303] Business Purpose Tag
COVER
[320] Send Participant Reference Number TAG
2014010900096610*
[321] Related Bank Reference Number TAG
2014010900096610*
[422] Beneficiary TAG
BBKCHCNBJ73C*
BANK OF CHINA*
76, WINXIAN LU*
PUTIAN,CN 351100*
[502] Originator TAG
D000002046610636*
MANJIT KAUR*
2102 DAVIS CT NE*
TACOMA                WA 98422-4533*
[650] Bank to Bank Information TAG
CVR OF DIR PYMT*
[820] MT202 Cover SEQB TAG
015603:50K:/000002046610636
MANJIT KAUR
2102 DAVIS CT NE
TACOMA                WA 98422-4533
:59:/               2751
CHEN JIANHUI
:72:/CCT/
:33B:USD520,
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-END OF RAW DATA
vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv
Source:CHIPS MT:103 Session:0000         Senders Reference:2014010900096610
Date:01/09/14 Time:15:05    Seq:010026 Customer Reference:2014010900096610
Priority:N    Del Mon:     Unit:MT       System Reference: 140109MP010026
                         Value:01/09/14 Cur:USD Amount:                   520.00
Sender    : A :WFBIUS6S                  Order Cust:50 :
Opt:                C/D/B:
UID:                SWIFT:WFBIUS6S
WELLS FARGO NA
SAN FRANCISCO,CA
Send Corr :53 :                          Order Bank:52D :
                                         Opt:                C/D/B:
                                         UID:                SWIFT:
                                         A/C:/000002046610636
                                         MANJIT KAUR
                                         2102 DAVIS CT NE
                                         TACOMA                WA 98422-4533
Acct With :57/ :070011000012             A/C:070011000012 USDDDA
BANK OF CHINA                            Advice:SS202 By:
HEAD OFFICE,                             Opt:                C/D/B:
1 FUXINGMEN NEI AVE                      UID: 138679         SWIFT:BKCHCNBJ
BEIJING,100818
Beneficiary :S :BKCHCNBJ73C              A/C:
BANK OF CHINA                            Advice:      By:          Bank:Y
PUTIAN                                   Opt: 2              C/D/B:B
                                         UID:                SWIFT:BKCHCNBJ73C
Details Of Payment:70:                   Bank to Bank Information:72:
                                         /ACC/CVR OF DIR PYMT
Details of Charges:71:
                                         77B: Regulatory Reporting
Payment Type:CHIPS RECEIVE               Commission :                       By:
                                         Cable Chrg :                       By:
                                         Chgs 'OUR' :                       By:
                Debits                                    Credits
A/C:0407                 Code:USDBLR     A/C:070011000012         Code:USDDDA
01/09/14 Amt:USD                  520.00 01/09/14 Amt:USD                   520.00
Chips ABA 0407                           BANK OF CHINA
                                         HEAD OFFICE,
                                         1 FUXINGMEN NEI AVE
                                         BEIJING,100818
A/C:                     Code:           A/C:                      Code:
^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
***** 202 COV I N F O R M A T I O N I N C L U D E D *****
CHIPS Received 15:05:04 PSN:711 SSN:373753 OSN:10026
Status: Completed
Output 1 CR/910 Status:Incomplete
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Output 2 SS/202 COV Status:Completed         Date: 14/01/09 Time: 15:04:46
  Related Transaction SW20140109FI-0000-011939-00
vvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvvv
